  Case 4:18-cv-00167-O Document 212 Filed 12/16/18              Page 1 of 1 PageID 2612


                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

TEXAS, et al.,                                §
                                              §
        Plaintiffs,                           §
                                              §
v.                                            §
                                              §
UNITED STATES OF AMERICA, et al.,             §   Civil Action No. 4:18-cv-00167-O
                                              §
        Defendants,                           §
                                              §
                                              §
CALIFORNIA, et al.                            §
                                              §
        Intervenors-Defendants.               §

                           ORDER TO PROPOSE SCHEDULE

       The Court issued its order granting partial summary judgment on Count I of Plaintiffs’

Amended Complaint. Accordingly, the Court ORDERS the parties to meet and confer by

December 21, 2018 and to then jointly submit to the Court by January 4, 2019 a proposed

schedule for resolving Plaintiffs’ remaining claims in the Amended Complaint.

       SO ORDERED on this 16th day of December, 2018.




                                               _____________________________________
                                               Reed O’Connor
                                               UNITED STATES DISTRICT JUDGE
